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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION

 ARMAND WHITE,                                      )
                                                    )
                        Petitioner                  )
                                                    )
                vs.                                 )   CAUSE NO. 3:12-CV-87 RM
                                                    )   (Arising out of 3:10-CR-49(03)RM)
 UNITED STATES OF AMERICA,                          )
                                                    )
                        Respondent                  )

                                      OPINION and ORDER

        Armand White pleaded guilty to aggravated bank robbery, 18 U.S.C. §

 2113(d), and knowingly using or carrying a firearm during and in relation to a

 crime of violence, 18 U.S.C. § 924(c), and was sentenced to an aggregate term of

 126 months’ imprisonment. Mr. White now asks that his sentence be vacated, set

 aside, or corrected under 28 U.S.C. § 2255.1

        The rules governing petitions filed under 28 U.S.C. § 2255 provide that once

 a motion is filed:

        The motion, together with all the files, records, transcripts, and
        correspondence relating to the judgment under attack, shall be
        examined promptly by the judge to whom it is assigned. If it plainly
        appears from the face of the motion and any annexed exhibits and
        the prior proceedings in the case that the movant is not entitled to
        relief in the district court, the judge shall make an order for its
        summary dismissal and cause the movant to be notified.


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            The motion to vacate was post-marked February 9, 2012, and received and filed on
 February 13, 2012, more than a year after the judgment became final. But under Rule 3(d) of the
 Rules Governing § 2255 Proceedings, “a paper filed by an inmate confined in an institution is
 timely if deposited in the institution’s internal mailing system or or before the last day for filing,”
 and Mr. White declared under penalty of perjury that he “placed [his] § 2255 Motion in the
 institutional legal mail...for delivery by the U.S. Postal Service First Class Mail Postage Pre-paid,
 on August 17, 2011.” Accordingly, the court deems Mr. White’s motion to be timely filed.
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 Rule 4(b), Rules Governing Section 2255 Proceedings for the United States District

 Courts. The court’s review of the record discloses that Mr. White’s motion can be

 resolved without a hearing. See Bruce v. United States, 256 F.3d 592, 597 (7th

 Cir. 2001); Daniels v. United States, 54 F.3d 290, 293 (7th Cir. 1995).

       In Mr. White’s plea agreement, he waived his right to appeal his conviction

 and sentence and to contest his conviction and sentence in a § 2255 proceeding.

 The plea agreement was signed by Mr. White, his attorney Kurt Earnst, and

 Assistant United States Attorney Frank Schaffer and contained the following

 language in paragraph 7:

              (h) I understand that the law gives a convicted person the right
       to appeal the conviction and sentence imposed; I also understand
       that no one can predict the precise sentence that will be imposed,
       and that the Court has jurisdiction and authority to impose any
       sentence within the statutory maximum set for my offense(s) as set
       forth in this plea agreement; with this understanding in consideration
       of the government’s entry into this plea agreement, I expressly waive
       my right to appeal or to contest my conviction and my sentence or the
       manner in which my conviction or my sentence was determined or
       imposed, to any Court on any ground, including any claim of
       ineffective assistance of counsel unless the claimed ineffective
       assistance of counsel relates directly to this waiver or its negotiation,
       including any appeal under Title 18, United States Code, Section
       3742 or any post-conviction proceeding, including but not limited to
       a proceeding under Title 28, United States Code, Section 2255;

 In paragraphs 9 and 10, Mr. White stated that he believed his attorney “had done

 all that anyone could do to counsel and assist [him],” that he offered his plea

 “freely and voluntarily and of my own accord, and that “no promises ha[d] been

 made to [him] other than those contained in [the plea agreement], nor ha[d] he

 been threatened in any way by anyone to cause [him] to plead guilty.”

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       Mr. White seeks post-conviction relief with respect to his conviction and

 sentence on both counts of conviction despite the waivers and admissions in the

 plea agreement. Mr. White contends that he didn’t possess the firearm used in the

 bank robbery, and that his attorney was ineffective because he didn’t challenge

 the sufficiency of the evidence and “advised, urged and coerced” him into pleading

 guilty to crimes he didn’t commit. Neither the record nor the law supports Mr.

 White’s claims.

       A plea agreement containing a waiver of the right to appeal and file a

 petition under § 2255 can be collaterally attacked in a limited number of

 circumstances, including challenges based upon contractual grounds such as

 mutual mistake or breach, United States v. Cook, 406 F.3d 485, 487 (7th Cir.

 2005), when a defendant claims the waiver was involuntary or counsel was

 ineffective in negotiating the waiver, Mason v. United States, 211 F.3d 1065, 1069

 (7th Cir. 2000), or when the sentence is greater than the statutory maximum

 sentence for the offense of conviction. United States v. Bownes, 405 F.3d 634, 637

 (7th Cir. 2005). While Mr. White doesn’t specifically challenge the negotiation of

 the waiver of his right to file a § 2255 petition, he does challenge the plea

 agreement generally.

       Mr. White stated at his change of plea hearing that he had read and

 understood the terms of the plea agreement, that he had discussed the plea

 agreement with his counsel before the plea hearing, that he understood he was

 giving up his right to appeal or otherwise challenge his sentence, and that he was

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 satisfied with the representation his counsel had provided. Mr. White also stated

 under oath that no one had threatened or forced him to plead guilty, or had made

 any promises, other than those contained in the plea agreement, as to what his

 sentence would be.

        Mr. White’s sworn statements at the change of plea hearing are presumed

 to be truthful, Bridgeman v. United States, 229 F.3d 589, 592 (7th Cir. 2000), and

 the record supports a finding that his guilty plea was “a voluntary and intelligent

 choice among the alternate courses of actions open to him.” Berkey v. United

 States, 318 F.3d 768, 773 (7th Cir. 2003) (quoting North Carolina v. Alford, 400

 U.S. 25, 31 (1970)). The plea agreement clearly and unambiguously sets forth the

 waiver of Mr. White’s right to appeal and to file a § 2255 petition, the waiver was

 explained to him during the plea colloquy, and he acknowledged that he

 understood. Because Mr. White’s plea was informed and voluntary, the waiver of

 his right to appeal or to file a § 2255 petition “must be enforced.” Nunez v. United

 States, 546 F.3d 450, 453 (7th Cir. 2008).

       The outcome would have been the same had Mr. White retained the right

 to petition for post-conviction relief. To prevail on his ineffective assistance of

 counsel claim, Mr. Wright would have to show that his attorney’s performance was

 objectively unreasonable, and that the deficient performance prejudiced his

 defense, rendering the outcome of the proceedings against him unreliable.

 Strickland v. Washington, 466 U.S. 668, 687-88, 694 (1984); Taylor v. Bradley,



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 448 F.3d 942, 948 (7th Cir. 2006); Jones v. Page, 76 F.3d 831, 840 (7th Cir.

 1996). He can’t meet that burden.

        Mr. White admitted in his plea agreement and at the change of plea hearing

 that he offered his plea “freely and voluntarily,” and that no one had threatened

 or forced him to plead guilty to robbing a federally insured bank while armed with

 a deadly weapon, in violation of 18 U.S.C. §§ 2113(d) and 2, and knowingly using

 or carrying a firearm during and in relation to a crime of violence, in violation of

 18 U.S.C. § 924(c).2 Paragraph 7(f) of the plea agreement set out the factual basis

 for his plea:

       On December 7, 2009, myself and several people planned the robbery
       of Teachers Credit Union on Ireland Road in South Bend, Indiana.
       I went into the bank with several other people and at least one was
       armed with a handgun. I was aware that a handgun was to be used
       in the robbery. We entered the bank wearing masks. Those of us
       involved in the robbery fled the bank after the robbery and were
       transported by a getaway driver waiting for us.....I do not dispute that
       a firearm was used in the robbery with my knowledge or that the use
       of a firearm put peoples lives in jeopardy[.]

 More detailed information about Mr. White’s role in the offense was elicited at the

 change of plea hearing, during which Mr. White testified that he and his

 accomplices, Tremaine Grant and Dion Davis, robbed the Teachers Credit Union



       2
        Under 18 U.S.C. § 2:
             (a) Whoever commits an offense against the United States or aids,
       abets, consels, commands, induces or procures its commission, is
       punishable as a principal.

              (b) Whoever willfully causes an act to be done which if directly
       performed by him or another would be an offense against the United States,
       is punishable as a principal.

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 at gun point on December 7, 2009, that he knew Grant would be carrying or using

 a firearm before they entered the bank and during the commission of the crime,

 and that he provided Mr. Grant with the gun. When asked whether he agreed that

 the government would be able to prove that he committed the offenses charged if

 the case went to trial, Mr. White stated that he did, and that he was guilty of the

 offenses charged in Counts 1 and 2 of the indictment.

       Mr. White claims about his attorney’s actions and the sufficiency of the

 evidence aren’t supported by the record or the law, see United States v. Roberson,

 474 F.3d 432, 433 (7th Cir. 2007) (“a defendant is liable for the reasonably

 foreseeable crimes committed by his accomplices in the course of the conspiracy”);

 United States v. Taylor, 226 F.3d 593, 596 (7th Cir. 2000); United States v.

 Woods, 148 F.3d 843, 848 (7th Cir. 1998), and are foreclosed by the waivers and

 admissions in his plea agreement and at the change of plea hearing.

       Accordingly, the court DISMISSES Mr. White’s motion to vacate, set aside,

 or correct sentence under 28 U.S.C. 2255 [Doc. No. 110 98 in Cause No. 3:10-CR-

 49(03)RM].

       SO ORDERED.

       ENTERED:       July 9, 2012



                                   /s/ Robert L. Miller, Jr.
                                Judge
                                United States District Court

 cc:   A. White

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       AUSA Schaffer




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